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                 IN THE UNITED STATES DISTRICT COURT FOR
                     THE MIDDLE DISTRICT OF ALABAMA
                            NORTHERN DIVISION

AMERICAN BUILDERS &                          )
CONTRACTORS SUPPLY CO., INC.,                )
                                             )
            Plaintiffs,                      )
                                             )
      v.                                     ) CIVIL CASE NO. 2:17cv97-ECM
                                             )
PRECISION ROOFING AND                        )
CONSULTING, LLC, et al.,                     )
                                             )
            Defendants.                      )

                                      ORDER

      The court is informed that the defendants are in bankruptcy. See Docs. 62 &

68. Accordingly, it is

      ORDERED and ADJUDGED as follows:

      (1) That this case is dismissed without prejudice to the right of any party to

petition to reinstate this case to pursue any claim raised in this case but not

adjudicated in or discharged by proceedings in the bankruptcy court.

      (2) That this reinstatement, if and when allowed, will cause the filing date of

any claim reinstated to relate back to the original filing date of this action.

      (3) That any petition for reinstatement must be filed by a party within 60 days

after the bankruptcy court has taken action which entitles that party to seek

reinstatement.
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      The clerk of the court is DIRECTED to mail a copy of this order to the

bankruptcy court.

      DONE this 8th day of February, 2019.



                                     /s/ Emily C. Marks
                               EMILY C. MARKS
                               CHIEF UNITED STATES DISTRICT JUDGE
